Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Van's Aircraft, Inc.                            Exhibit B
Case Number: 23-62260-dwh11                     Case # 23-62260-dwh11
Questions 1.10 - 1.18 with Yes answers
Exhibit B

1.10 - Bank Accounts other than DIP bank accounts:
           Heritage Bank Business MM Checking Account has a small balance that has not been closed; less than $5K. Will be
           closed and transferred into DIP account 7771 during February, 2024.




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Van's Aircraft                             Exhibit D                                                    4:23 PM

Account QuickReport                        Case # 23-62260-dwh11                                      12/04/2023

As of December 31. 2023                                                                            Accrual Basis
       Disbursements from           Type     Date                 Name             Amount          Balance

           Key Bank 7771
                            Check           12/19/2023                                 842.90            842.90
                            Check           12/26/2023                                  81.96            924.86
                            Check           12/27/2023                                 105.00           1,029.86
                            Check           12/08/2023                               16,948.60         17,978.46
                            Check           12/18/2023                              149,884.00        167,862.46
                            Check           12/11/2023                                3,312.38        171,174.84
                            Check           12/12/2023                               46,739.20        217,914.04
                            ACH             12/12/2023                                 317.06         218,231.10
                            Check           12/12/2023                                 979.97         219,211.07
                            Check           12/12/2023                                2,380.00        221,591.07
                            Check           12/12/2023                                1,254.40        222,845.47
                            Check           12/12/2023                                1,299.10        224,144.57
                            ACH             12/13/2023                               16,922.50        241,067.07
                            Check           12/13/2023                                6,935.00        248,002.07
                            Check           12/14/2023                               15,000.00        263,002.07
                            Check           12/13/2023                                3,299.95        266,302.02
                            Check           12/14/2023                                9,169.70        275,471.72
                            Check           12/14/2023                                 252.80         275,724.52
                            Check           12/14/2023                                1,200.00        276,924.52
                            Check           12/14/2023                                 322.00         277,246.52
                            Check           12/14/2023                                2,000.00        279,246.52
                            Check           12/14/2023                                3,385.00        282,631.52
                            Check           12/15/2023                                1,020.35        283,651.87
                            Check           12/18/2023                                 304.85         283,956.72
                            Check           12/18/2023                                 750.00         284,706.72
                            Check           12/18/2023                                 285.14         284,991.86
                            ACH             12/18/2023                                 224.00         285,215.86
                            Check           12/19/2023                                3,515.54        288,731.40
                            Check           12/20/2023                                 100.00         288,831.40
                            Check           12/20/2023                                  52.56         288,883.96
                            Check           12/20/2023                                2,143.00        291,026.96
                            Check           12/20/2023                                 900.00         291,926.96
                            Check           12/21/2023                                 447.30         292,374.26
                            Check           12/21/2023                               12,004.40        304,378.66
                            Check           12/21/2023                                3,477.65        307,856.31
                            Check           12/21/2023                                3,000.00        310,856.31
                            Check           12/21/2023                                1,764.00        312,620.31
                            Check           12/27/2023                                 187.00         312,807.31
                            Check           12/27/2023                                 130.00         312,937.31
                            ACH             12/27/2023                                 232.00         313,169.31
                            Check           12/27/2023                                      2.51      313,171.82
                            Check           12/27/2023                                 547.20         313,719.02
                            Check           12/27/2023                                 695.90         314,414.92
                            Check           12/27/2023                                 691.44         315,106.36
                            Check           12/27/2023                                1,305.25        316,411.61
                            Check           12/27/2023                                3,375.00        319,786.61
                            Check           12/27/2023                                 358.00         320,144.61
                            Check           12/22/2023                                 170.82         320,315.43
                            Check           12/27/2023                                 451.64         320,767.07




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                            Case 23-62260-dwh11          Doc 86   Filed 02/09/24
Disbursements from           Type    Date                 Name             Amount        Balance

                     Check          12/27/2023                                3,368.10     324,135.17
                     Check          12/27/2023                                1,871.17     326,006.34
                     Check          12/27/2023                                2,899.60     328,905.94
                     Check          12/28/2023                                3,897.50     332,803.44
                     ACH            12/28/2023                               42,618.77     375,422.21
                     Check          12/29/2023                               67,748.00     443,170.21
                     ACH/WIRE       12/29/2023                               54,450.00     497,620.21
                     WIRE           12/29/2023                               45,908.09     543,528.30
                     WIRE           12/29/2023                              242,735.00     786,263.30
                     WIRE           12/29/2023                               68,500.00     854,763.30
                     WIRE           12/29/2023                               88,680.00     943,443.30
                     WIRE           01/00/1900                               83,965.00   1,027,408.30
                     Chargeback     12/08/2023                               10,000.00   1,037,408.30
                                    12/15/2023                               76,130.06   1,113,538.36
                                    12/15/2023                                4,956.97   1,118,495.33
                                    12/18/2023                               13,035.00   1,131,530.33
                                    12/19/2023                                6,810.82   1,138,341.15
                                    12/22/2023                                1,593.54   1,139,934.69
                                    12/27/2023                               92,858.86   1,232,793.55
                                    12/27/2023                                2,506.32   1,235,299.87
                                    12/29/2023                               34,034.70   1,269,334.57
                                    12/06/2023                              341,882.91   1,611,217.48
                     Check          12/29/2023                                 770.80    1,611,988.28
                     Check          12/29/2023                                 550.00    1,612,538.28
                     Check          12/29/2023                               21,258.00   1,633,796.28
                     Check          12/27/2023                               30,700.00   1,664,496.28
                     Check          12/27/2023                               98,957.44   1,763,453.72
                                    12/13/2023                                 244.00    1,763,697.72
                                    12/13/2023                                 262.43    1,763,960.15
                                                                               113.66    1,764,073.81
                     Check          12/20/2023                                 180.00    1,764,253.81
                     Check          12/20/2023                                   58.49   1,764,312.30
                     Check          12/20/2023                                1,639.60   1,765,951.90
                     Check          12/20/2023                                 650.00    1,766,601.90
                     Check          12/20/2023                                 372.83    1,766,974.73
                     Check          12/20/2023                                   79.00   1,767,053.73
                     Check          12/20/2023                                 731.10    1,767,784.83
                     Check          12/21/2023                               12,165.00   1,779,949.83
                     Check          12/21/2023                                 935.00    1,780,884.83
                     Check          12/21/2023                                   92.25   1,780,977.08
                     Check          12/22/2023                                 995.00    1,781,972.08
                     Check          12/26/2023                                   99.85   1,782,071.93
                     Check          12/27/2023                                 863.19    1,782,935.12
                     Check          12/27/2023                                   89.11   1,783,024.23
                     Check          12/27/2023                               12,579.35   1,795,603.58
                     Check          12/27/2023                                3,253.70   1,798,857.28
                     Check          12/27/2023                               22,781.00   1,821,638.28
                     Check          12/27/2023                                8,000.00   1,829,638.28
                     Check          12/27/2023                               68,560.00   1,898,198.28
                     Check          12/27/2023                               92,100.00   1,990,298.28
                     Check          12/18/2023                                3,510.00   1,993,808.28
                     Check          12/13/2023                                 358.20    1,994,166.48
                     Check          12/14/2023                                2,485.00   1,996,651.48
                     Check          12/14/2023                                1,941.20   1,998,592.68




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                     Case 23-62260-dwh11         Doc 86   Filed 02/09/24
Disbursements from           Type            Date                 Name             Amount        Balance

                     Check                  12/14/2023                                1,584.00   2,000,176.68
                     Check                  12/14/2023                               13,035.00   2,013,211.68
                     Check                  12/14/2023                                 350.00    2,013,561.68
                     Check                  12/18/2023                                2,311.21   2,015,872.89
                     Check                  12/18/2023                                 337.93    2,016,210.82
                     Check                  12/18/2023                                 256.52    2,016,467.34
                     Check                  12/18/2023                               15,104.00   2,031,571.34
                     Check                  12/19/2023                               14,228.44   2,045,799.78
                     Dir Withdrawal         12/15/2023                                5,000.00   2,050,799.78
                     Dir Withdrawal         12/18/2023                               48,784.59   2,099,584.37
                     Dir Withdrawal         12/18/2023                                6,712.25   2,106,296.62
                     Dir Withdrawal         12/20/2023                                9,798.75   2,116,095.37
                     Dir Withdrawal         12/25/2023                               33,436.54   2,149,531.91
                     Dir Withdrawal         12/25/2023                               11,630.85   2,161,162.76
                     Dir Withdrawal         12/26/2023                                3,325.60   2,164,488.36
                     Total Payroll          12/20/2023                              239,647.09     239,647.09
                      Total Disbursements                                                        2,404,135.45




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Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Van's Aircraft, Inc.                      Exhibit F
Account QuickReport                       Case # 23-62260-dwh11
As of December 31, 2023                                                                           Cumulative
                                   Type     Date      Num            Name            Amount       Balance

          10500 - Accounts Receivable
                                                   M000003                            16,766.30     16,766.30
                                                   M000004                             9,002.36     25,768.66
                                                   M020015                             8,057.11     33,825.77
                                                   M018561                             7,829.42     41,655.19
                                                      V200                             6,684.00     48,339.19
                                                   NB971                               4,716.80     53,055.99
                                                   M040192                             3,191.77     56,247.76
                                                   M037670                             2,808.92     59,056.68
                                                   M038610                             2,724.95     61,781.63
                                                   M002841                             2,591.57     64,373.20
                                                   M014360                             2,487.60     66,860.80
                                                   M000268                             2,418.50     69,279.30
                                                   M019318                             2,249.97     71,529.27
                                                   M012399                             2,028.55     73,557.82
                                                   M000558                             1,914.37     75,472.19
                                                   M011726                             1,847.85     77,320.04




                                                                                                                Page 1 of 1
                                               Case 23-62260-dwh11    Doc 86   Filed 02/09/24
                KeyBank                                                     Corporate Banking Statement
                P.O. Box 93885
                Cleveland, OH 44101-5885
                                                                                      December 31, 2023
                                                                                             page 1 of 4


                                                                                                        7771



    146 31               T    968 00000 R EM AO
    VAN'S AIRCRAFT, INC.                                                                              Questions or comments?
    CASH OPERATING ACCOUNT                                                                                Call 1-800-821-2829
    DEBTOR IN POSSESSION
    CASE # 23-62260-DWH11
    31765 S KYLLO RD
    MOLALLA OR 97038-8504




Commercial Transaction                 7771
VAN'S AIRCRAFT, INC.
                                                           Beginning balance 11-30-23                             $21,479.54
CASH OPERATING ACCOUNT
DEBTOR IN POSSESSION
                                                           10 Additions                                        +3,985,927.77
                                                           171 Subtractions                                    -1,969,632.57
                                                           Net fees and charges                                      -113.66
                                                           Ending balance 12-31-23                             $2,037,661.08




Additions
             Deposits Date        Serial #        Source
                      12-4                        Deposit Branch 0071 Oregon                                    $3,461,950.26
                      12-6                        Deposit Branch 0071 Oregon                                       180,033.87
                      12-6                        Deposit Branch 0071 Oregon                                        63,185.71
                      12-7                        Internet Trf Fr DDA                   1016   3720                109,072.53
                      12-8                        Deposit Branch 0071 Oregon                                        10,859.94
                      12-13                       Deposit Branch 0071 Oregon                                        19,747.46
                      12-15                       Deposit Branch 0071 Oregon                                           515.00
                      12-18                       Deposit Branch 0071 Oregon                                        82,914.46
                      12-21                       Internet Trf Fr DDA                   1016   3720                 54,450.00
                      12-28                       Deposit Branch 0071 Oregon                                         3,198.54
                                                  Total additions                                               $3,985,927.77

Subtractions
Paper Checks             * check missing from sequence


Check          Date             Amount        Check        Date             Amount        Check        Date           Amount
               12-19            $842.92                    12-15               979.97                 12-15          9,169.70
               12-26              81.96                    12-14             2,380.00                 12-20          1,200.00
               12-27             105.00                    12-28             1,254.40                 12-29            252.80
               12-12          16,948.60                    12-13            16,922.50                 12-22            322.00
               12-18         149,884.00                    12-28             1,299.10                 12-18          3,385.00
               12-11           3,312.38                    12-15             6,935.00                 12-29          2,000.00
               12-12          46,739.20                    12-28             3,299.95                 12-20          1,020.35
               12-18             317.06                    12-13            15,000.00                 12-28            304.85




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Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Case 23-62260-dwh11   Doc 86   Filed 02/09/24
                                                                Corporate Banking Statement
                                                                          December 31, 2023
                                                                                 page 2 of 3



                                                                                           1016




Account messages

          DEPOSIT ACCOUNT AGREEMENT CHANGES
          We've updated Section 6 of our Deposit Account Agreement to reflect how we are
          processing certain ATM and Debit Card Transactions. For more information,
          please call 1-888-KEY-4BIZ® (1-888-539-4249). For clients using a TDD/TTY
          device, please call 1-800-539-8336.




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                                                                      Corporate Banking Statement
                                                                                December 31, 2023
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                                                                                               2569



Additions
(con't)
             Deposits Date     Serial #        Source
                      12-27                    Direct Deposit, Merchant Svcs     Comb. Dep.               49,004.03
                      12-27                    Direct Deposit, Merchant Svcs     Comb. Dep.                  341.25
                      12-28                    Direct Deposit, Merchant Svcs     Comb. Dep.               77,983.32
                      12-28                    Direct Deposit, Merchant Svcs     Comb. Dep.                  225.00
                      12-29                    Direct Deposit, Merchant Svcs     Comb. Dep.               56,041.99
                      12-29    768615          Wire Deposit                                               15,754.01
                      12-29    759705          Wire Deposit                                               12,120.00
                                               Total additions                                        $1,361,243.39

Subtractions

           Withdrawals Date    Serial #         Location
                       12-15                    Direct Withdrawal, Merchant Svcs Comb. Exc.              $5,000.00
                       12-18                    Direct Withdrawal, Merchant Svcs Comb. Exc.              48,784.59
                       12-18                    Direct Withdrawal, Merchant Svcs Comb. Exc.               6,712.25
                       12-19                    Internet Trf To DDA             1016 3720                62,341.50
                       12-21                    Direct Withdrawal, Merchant Svcs Comb. Exc.               9,798.75
                       12-26                    Direct Withdrawal, Merchant Svcs Comb. Exc.              33,436.54
                       12-26                    Direct Withdrawal, Merchant Svcs Comb. Exc.              11,630.85
                       12-27                    Internet Trf To DDA             1016 3720               151,700.00
                       12-27                    Internet Trf To DDA             1016 3720                 3,264.72
                       12-28                    Direct Withdrawal, Merchant Svcs Comb. Exc.               3,325.60
                                                Total subtractions                                     $335,994.80


Interest
earned
                                          Number of days this statement period                                 31
                                          Interest paid year-to-date                                      $333.87
Fees and
charges        See your Account Analysis statement for details.



Account messages

              DEPOSIT ACCOUNT AGREEMENT CHANGES
              We've updated Section 6 of our Deposit Account Agreement to reflect how we are
              processing certain ATM and Debit Card Transactions. For more information,
              please call 1-888-KEY-4BIZ® (1-888-539-4249). For clients using a TDD/TTY
              device, please call 1-800-539-8336.




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Case 23-62260-dwh11   Doc 86   Filed 02/09/24
Van's Aircraft
Income Statement
December 31, 2023 Year to Date
                                                 Preliminary
                                                 12/31/2023
Revenue                                      $      52,137,617
Cost of Materials                                   41,152,203
Direct Labor                                         3,315,451
Manufacturing Overhead                               4,863,283
   Cost Transfers into Inventory                    (2,984,244)
Total Cost of Goods Sold                            46,346,693
Gross Margin                                         5,790,925
Total SG&A                                           6,429,642
EBITDA                                       $        (638,717)
    Depreciation                             $         773,485
    Interest Expense, net                              257,722
    Other (Income)/Expense                          (1,188,727)
    Laser Cut Parts Replacement Expense              5,000,000
    Inventory Write-Off                              3,972,842
Net Income/(Loss)                            $      (9,454,040)




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                           Case 23-62260-dwh11   Doc 86       Filed 02/09/24
Van's Aircraft
Balance Sheet
As of December 31, 2023
                                                    Preliminary
                                                    12/31/2023
ASSETS
 Current Assets
   Cash & Cash Equivalents                      $     2,778,162
   Restricted Cash Customer Deposits                     663,305
   Accounts Receivable                                    77,320
   Inventory1                                         21,984,988
   Prepaid Expenses                                      440,923
    Total Current Assets                              25,944,698
  Fixed Assets
    Buildings                                           9,000,625
    Storage Buildings                                     162,684
    Machinery & Equipment                               3,551,107
    Office Equipment, Furniture & Fixtures                550,418
    Facility Improvements                                 446,895
    Aircraft                                               53,343
    Vehicles                                               65,366
    Accumulated Depreciation                          (3,130,197)
     Total Fixed Assets                               10,700,242
Total Assets                                    $     36,644,940
LIABILITIES AND EQUITY
Liabilities
  Current Liabilities
    Accounts Payable - Post Petition            $        188,526
    Accounts Payable - Pre Petition                     2,580,980
    Accrued Payroll & Related                             566,671
    PTO Payable                                           626,454
    State Taxes Payable                                   239,967
      Total Current Liabilities                        4,202,598
  Insider Liabilities
    VanGrunsven Notes                                   3,500,000
    ESOP Note Guarantee                                   728,666
    VanGrunsven Trumpf Note                               543,491
    VanGrunsven A/C Corp Office                         6,185,758
     Total Insider Liabilities                        10,957,914
  Contingent Liabilities
   Customer Deposits                                  26,485,078
   Laser Cut Parts Replacement Reserve                 5,000,000
      Total Contingent Liabilities                     31,485,078
Total Liabilities                               $     46,645,591
Equity
   Capital (Common Stock)                       $         60,000
   Retained Earnings                                      147,914
   ESOP Contra                                          (754,525)
   Net Income                                         (9,454,040)
Total Equity                                         (10,000,651)
Total Liabilities & Equity                      $     36,644,940
Footnote:
1 The estimated liquidation value of inventory is $2.5 Million


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                                       Case 23-62260-dwh11                Doc 86   Filed 02/09/24
Van's Aircraft
Statement of Cash Flows
December 31, 2023 Year to Date
                                                                   Preliminary
                                                                   12/31/2023
Net Income (Loss)                                              $     (9,454,040)
Non Cash items included in Net Income
   Depreciation                                                         773,485
Changes in Operating Assets & Liabilities
   (Increase) Decrease in Working Capital Accounts                    1,338,434
   (Increase) Decrease in Replacement Reserve                         5,000,000
   (Increase) Decrease in Customer Deposits                          (1,990,405)
   Net Cash Provided (Used) by Operations                            (4,332,526)
Cash Flows from Investing Activities
   (Increase)/Decrease in Fixed Assets                               (2,492,931)
   Net Cash Provided (Used) by Investing Activities                  (2,492,931)
Cash Flows from Financing Activities
   Net Borrowings (Paydowns) on Insider Debt                          3,251,047
    Net cash flow provided by Financing Activities                    3,251,047
Increase (Decrease) in Cash                                          (3,574,410)
Beginning Cash                                                        6,352,572
Ending Cash                                                    $      2,778,162




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